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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


       CRIMINAL ACTION NO.:                                                 (AHN)

                 ELECTRONIC FILING ORDER IN CRIMINAL CASES

       The Court orders that the parties shall file all documents in this case

electronically. Counsel are reminded that they must comply with the following

requirements:

       1.     Counsel must comply with all applicable Federal Rules of Criminal

Procedure, the District's Local Rules, the requirements set forth in the District's

CM/ECF Policies and Procedures Manual, and any other rules and administrative

procedures which implement the District's CM/ECF system.

       2.     Unless otherwise ordered, on the business day next following the day on

which a document is filed electronically, counsel must provide Chambers with one

paper copy of the following e-filed documents:

       All pleadings (including briefs and exhibits) relating to the following:

       a.     Motions to dismiss;
       b.     Motions to suppress;
       c.     Motions to modify presentence reports;
       d.     Requested jury instructions;
       e.     Trial briefs; and
       f.     Any other motion, request or application which, taking it together
              with all related filings (e.g., memo in support, affidavits) are in
              excess of 15 pages.

SO ORDERED.
                                   /s/ Alan H. Nevas
                                   Alan H. Nevas
                                   Senior United States District Judge




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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


                                NOTICE TO COUNSEL


       This case is designated as an electronically filed case. This means that all
pleadings except sealed documents will be required to be filed electronically, pursuant
to the accompanying Electronic Filing Order. The procedures contained in the District’s
CM/ECF Policies and Procedures Manual will apply and counsel will be required to
register with the Clerk’s Office and provide an email address. The Manual can be
found on the court’s website at www.ctd.uscourts.gov. All activity in the case (e.g.,
pleadings, orders, notices and calendars) will be filed/sent electronically from that date
forward.

       If electronic filing would impose an undue burden on counsel or the parties, a
motion may be made to vacate the Electronic Filing Order, for good cause shown. Any
pleadings filed before the effective date, including a motion to vacate the Electronic
Filing Order, should be filed in paper form.

       SO ORDERED.

                                                 /s/ Alan H. Nevas
                                                Alan H. Nevas
                                                Senior United States District Judge




eff. 1/1/06



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